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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

DEREK AUSTIN,                                      )
                                                   )
        Plaintiff,                                 )      Case No.
                                                   )
v.                                                 )      Division No.
                                                   )
JOHN A. BROWN,                                     )      JURY TRIAL REQUESTED
Serve at:                                          )
1157 Partridge Ave                                 )
Bolingbrook, IL 60490                              )
                                                   )
B.T. TRUCKING, INC.                                )
Serve at:                                          )
120 South Central Ave.                             )
Suite 400                                          )
Clayton, MO 63105                                  )
                                                   )
        Defendants.                                )

                                       COMPLAINT

        COMES NOW Plaintiff Derek Austin (hereinafter “Plaintiff”), by and through his

attorneys Padberg, Corrigan & Appelbaum, and for his cause of action against

Defendants John A. Brown (hereinafter “Defendant Brown”) and B.T. Trucking, Inc.

(hereinafter “Defendant B.T. Trucking”), states as follows:

        1.     Plaintiff is a resident of Livingston Parish, Louisiana.

        2.     Defendant Brown is a resident of Will County, Illinois.

        3.     Defendant B.T. Trucking is an Illinois corporation in good standing with its

principal place of business in the State of Illinois.
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       4.      Defendant B.T. Trucking regularly drives its trucks on open and public

thoroughfares and roadways in St. Louis City and throughout the counties in the Eastern

Division of the United States District Court.

       5.      Venue is proper in the Eastern Division of the United States District Court

for the Eastern District of Missouri pursuant to Local Rule 3-2.07(B)(4) in that Defendant

B.T. Trucking does business through the Eastern Division of the Eastern District of

Missouri and has no site therein that can properly be deemed its principal place of

business and therefore, is a resident of the Eastern Division of the United States District

Court for the Eastern District of Missouri.

       6.      On or about June 10, 2019 Plaintiff was parked in his pickup truck at Pilot

Travel Center in Marston, Missouri.

       7.      On or about June 10, 2019, Defendant Brown was operating a tractor trailer

in the course and scope of his employment with Defendant B.T. Trucking. While

backing up his tractor trailer at Pilot Travel Center, Defendant Brown collided with the

front of Plaintiff’s vehicle, causing Plaintiff to sustain injuries.

       8.      As a direct and proximate result of the carelessness, negligence and

recklessness of Defendant Brown while he was acting in the course and scope of his

employment with Defendant B.T. Trucking, Plaintiff’s vehicle was violently struck by

the vehicle operated by Defendant Brown.

       9.      The aforesaid collision occurred as a direct and proximate result of the

carelessness, negligence and recklessness of Defendant B.T. Trucking, by and through its

agent Defendant Brown, in one or more of the following respects:

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             a. Defendant Brown operated the tractor trailer at an excessive rate of speed

                for the conditions then and there existing;

             b. Defendant Brown failed to keep a proper lookout;

             c. Defendant Brown failed to maintain proper control of his vehicle;

             d. Defendant Brown failed to properly and timely apply the brakes;

             e. Defendant Brown failed to maintain safe distance between his vehicle and

                others.

       10.      As a direct and proximate result of the carelessness, negligence and

recklessness of Defendant B.T. Trucking by and through its agent Defendant Brown,

Plaintiff sustained serious and permanent injuries to his neck, back, and left shoulder.

Plaintiff has been required to undergo medical treatment and may in the future require

additional medical treatment for his injuries. Plaintiff has incurred medical bills and will

incur medical bills in the future. Plaintiff’s ability to engage in recreational activities and

to enjoy the ordinary pursuits of life has been permanently impaired, lessened, and

restricted. Additionally, Plaintiff’s injuries have interfered with his employment, forced

him to lose wages in the past and in the future, and have otherwise affected his career.

       WHEREFORE, Plaintiff prays judgment against Defendants in a sum in excess of

$75,000.00, together with his costs herein expended, and for such further relief that this

Honorable Court deems just and proper under the circumstances.




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                                 Respectfully submitted,

                                 PADBERG, CORRIGAN & APPELBAUM
                                 A Professional Corporation
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